CaS€ 8-18-76198-&8'[ DOC 20 Filed 10/23/18 Eiitei’ed 10/23/18 18241:50

mwa l\/iahmut Yilan
Flrsl Naine M|ddle Nume Lnsi Name

Debter 2
(Spouse, lf lillng) Flrst Name Middie Nume inst Nomn

 

Unlted States Bankruptcy Courl for lhe: EaneiTi District Of NGW YOrk

Case number 8"18~76198-38t
("k"°W") ' M check if this is an

amended filing

 

 

Official Form 107 _
Statement of Financial Affairs for lndividuals Filing for Bankruptcy 04/16

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
|nformatlon. if more space ls needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

   

Give Details About Your Marltal Status and Where You Lived Before

1. What ls your current marital status?

d Niarriecl
l:l Not married

2. During the last 3 years, have you lived anywhere other than where you live now? '

ENO

[;] Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
m Same as Debior 1 g Same as Debtor 1
t Frem From ewan
Number Street Numl)er Sireet
t To T° -»»~»-
City Slale ZlP Code Ciiy Slate ZiP Code
m Same as Debior1 m Same as Dei)lor1
From From
Number Street Number Sireet
To WM_ To W__,w
C|ty Staie ZlP Code Clty Stalo ZlP Code

y 3. W|thln the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
` states end territories include Arizona, California, ldahe, Louisiane, Nevade, New ii/lexico, Puerio Rico, “l"exes, Washington, and Wisconsin.) '

[§No

L:] Yes. Make sure you fill out Schedule H: Your Codebtors (Ofiicial Form 'lOSH).

 

Explain the Sources of Your lncome

 

Oiiiciai Form 107 Statement of Flnancial Affairs for individuals Filing for Bankruptcy page 1

 

Case 8-18-76198-ast

Mahmut

Firal Namo

Debtor1 Yilan

Mi¢ld|o Namo Laai Namo

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Case number <Irknown> 8”1 8“761 98“ast

 

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs end ali businesses including part~time activities
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

[;\ No
821 YeS. Ful in the details

 

 

Sources of income
Check ai|'that appiy.

m Wages, commissions,

Gross income

(before deductions and
exciusions)

Gross income

(t)ciore deductions and
exclusions)

Sources of income
Check all that appiy.

m Wages, commissions

 

From January1 of current year until 12 ()()O_()()
the date you filed for bankruptcy: bonuses’ nps $““"”‘““W““’““`““*"“““ b°“uSGS' ups “““

m Operating a business m Operating a business
For last calendar year r.:l Wages, commissions m Wages, commissions,

` bonuses, tips $ 21 ,322.99 bonuses, tips $
(Ja"uary1 to D€Cemb@" 31»3YQW31M) m Operatinga business [.:\ Operating a business
For the calendar year before than m :Vages, co|mmlssions. i;l :Vages, commissions
onuses, ps $ 22,9§9'00 onuses, ips

(Jar_iuarim to December 31'3..>?071§…-) l:l Operatinga business m Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable Examples of other income are alimony; child support; Social Security,
unemployment and other public benefit payments; pensions; rental income; interest; dividends; money collected from |awsuits; royalties; and
gambling and lottery winnings. ii you are H|ing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately Do not include income that you listed in line 4.

UNO

ill Yes. Fiil in the details

 

Sources of income
Describe beiow.

Gross income from
each source

(before deductions end

Sources of income
Describe beiow.

Gross income from
each source

(beiore deductions and

 

 

 

 

excius|ons) exciusions)
From January 1 of current year until ”‘r-r”"“~~-“”~“*“~w' $ WWW_- ”“ $WM__*
the date you filed for bankruptcy: mw ' $ _ ,M_M $
»»-W~W~~W itemM…w_*~.“~…»W W -“…,W*~ iiN ,,,,,,,,,,,,,,,,,,,,,,,,,,,,
For last calendar year: $ $_W…WWWN.
(January 1 to Decemi)er 31,29_11) _WM W,.
YYYY
$ $ se
For the calendar year before that: $ t HM $,W.~
(January 1 to December 31 ,2016 ) $WW mm $,__wm .M_
YYYY … “““““ ‘“M * ` *‘ M““……“““W $
$, W.W-W_.MWM

 

Ofiiciai Form 107 Statement of Financial Affairs for individuals Fiiing for Bani<ruptcy page 2

 

CaS€ 8-18-76198-&8'[ DOC 20 Filed 10/23/18 Entered 10/23/18 18241:50

DBth|' 1 Mahmut Yi|an ease numbgr (”k”ow") 8"18"76198"ast
Flrst Nama Mldd|e Name Laal Name

 

  

List Certain Payments You i‘lliade Before You Fiied for Bankruptcy

 

 

s. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
[:l No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
“incurred by an individual primarily for a personal, family. or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

E] No. co to line 7.

l;] Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases iiied on or after the date of adjustmentl

m Yes. Debtor1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you tried for bankruptcy, did you pay any creditor a total of $600 or more?

M No. eo ib line 7.
i.:l Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

Dates of Totai amount paid Amount you still owe Was this payment for...
payment
$ $ m Mortgage
Creditoi’s Name
[:.] Car
Nuinl)er Street m Credit card

m Loan repayment

 

L:] Suppllers or vendors

 

 

 

 

city siai@ zip con L:i Other M.~,M.
$ $ [;] Morlgage
Crodltor’s Name
[:l Car
Number Slreet i;i Credit card

i;.i Loan repayment

 

g Suppliers or vendors

 

 

 

 

Ci\y Slale ZiiJ 0on g Other _
$ $ m Mortgage
Crodilor’s Name
m Car
Hl§bm’ Sii@<>i ’ m Credlt card

m Loan repayment

 

m Suppliers or vendors

 

City SiaiG ZlP COd@ ' ”`“`“_"“_`“'°‘

 

 

 

 

Ofiicial Form 107 Statement of Financial Affairs for individuals Fiiing for Bankruptcy page 3

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newa Mehmut Yilan ease ,wmb@,,(,,k,,own, 8-18-76198~ast

 

First Nama Niiddie Name Lnst Namo

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an oft"icer, director, person in controi, or owner of 20% or more of their voting securities; end any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations
such as child support and eiimony.

[Y.iNo

[] Yee. List all payments to an insider.

 

 

 

 

 

Dates of Totai amount Amount you still Reason for this payment
payment paid owe
$ $
insider's Name
Number Slreet "““ '
Clty Stale Z|P Code
$ m $~ W.

 

lnsider‘s Name »~»-~»-~»_.

 

Numhor Sireet

 

 

City State Z|P Codo

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an lnsider?

include payments on debts guaranteed or cosigned by an insider.

MNO

L:,l Yes. Llst all payments that benefited an insider.

 

 

 

 

 

 

 

 

 

 

Dates of Totai amount Amount you still Reason for this payment

paym°“t paid °`”° w include creditor,'§_neme ,. ,, _ c ,
insidefs Narne $ $
Number Sireel
Cily Steta ZlP code \

$W_WWW~ $W, g

lnsldel’s Namo “'W“
Number Street
city g g state ziP code

 

Offlciai Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptoy page 4

 

 

 

CaS€ 8-18-76198-&8'[ DOC 20 Filed 10/23/18 Entered 10/23/18 18241:50

Mahmut

Firsi Namo

Debtor 1

Midiiie Nemo

  

and contract disputes

[;] No
[.:l Yes. Fi|| in the detaiis.

Case title

 

Case number

Case title

 

Case number

 

Check all that apply and fill in the details beiow.

54 No. Goto|ineii.
ill ves. Fiii in the information beiow.

Last Name

Nature of the case

 

Credltoi’s Name

 

Nunii)er Sireei

 

 

Clty State ZiP Code

Yiian

Case number i/rknown> 8'18“76198“ast

 

ldentify Legai Actions, Reposseesions, and Foreciosures

9. Whinit 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding? v
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications

 

 

 

 

 

Court or agency Status of the case

Couri Name m Pending

m On appeal
Number Street m Conc|uded
Clty Staio Z|P Code
Court Nama m mmde

[;l On appeal
Number Street g Concluded
Clty Siate ZIP Ccde

 

 

§ 104 Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or |evied?

 

 

Creditoi“s Name

 

Numbor Slreet

 

 

Clty State Z|P Code

 

Ofi"iciai Form 107

 

|;l Property was repossessed

[:l Property was foreclosed

[;l Properiy was garnished.

Ei Property was attached, seized, or ievied.

Statement of Financial Affairs for individuals Fiiing for Bankruptcy

Descrlbe the property Date Vaiue of the property
mm $WW, am

Expialn what happened

L:l Property Was repossessed

C] Properiy was foreclosed

i:l Property was garnished.

i;] Property was attached, seized, or levied.

Describe the property Date Vaiue of the property

| $
Expialn what happened

page 5

 

 

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Debtor 1 Mahmut Vilan Case number (i/i<nown) 8“18`76198"35t

Flist Nrime Mlddio Numo Last Namo

 

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

mNo

ill Yes. i=iii in the detaiis.

 

 

 

 

 

 

Describe the action the creditor took Date action Arnount
was taken
Creditor's Namo
$
Number Street
Ciiv Siaie Z"° Cod@ Last 4 digits of account number: XXXX»»_»W

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another officiai?

§ No
[] Yes

usi certain sine and contributions

 

 

 

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

m No
m _Yes. Fiil in the details for each gift.

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Vaiue
per person the gifts ~
mu…u $~MM. umw
Person to Wiiom You Gave the Gift
s $. j 2
Nuinber Street
Clty State ZlP Code
Person's relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Va|ue
perpersor\ ,,., . , c t, c »,. ,_ ,_ ,, …, , vt j t _,t , t the gifts
$
Person to Wiioin You Gave tiie Gift
2 iii

 

 

Numt)er Street

 

Ciiy Siaie ZlP Codo

 

 

Person's relationship to you

Ofiicial Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy ' page 6

 

 

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Debtor 1 Mahmut Y"an Case number (/rknown) 8”18“76198“35t

First Name Mlddlo Name test Namo

 

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

MNo

i;] Yes. Fiii in the details for each gift or contribution

 

Gifts or contributions to charities Descrlbe what you contributed Date you Vaiue
that total more than 5600 contributed
…_M $_*M
Charity`s Nalne
$

 

 

Numl)er Street

 

Clty Staie ZiP Code

List Certain Losses

 

 

15. Within 'i year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

MNo

ill Yes. Fin in the duane

Describe the property you lost and Describe any insurance coverage for the loss Date of your Vaiue of property
how the loss occurred _ _ l l _ loss lost
' include the amount that msurance has pald. Ltst pending insurance
claims on line 33 of Schedule A/B: Prope/ty.

List Certain Payments or Transfers

 

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

g No
13 Yes. rm in the details

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
PersonWhoWas Peid .` , … o v a ….…,,.…, , _ ., made
Number Slreot d $ , ,
m WM MMMMMMMMMMMMMMMM whowa $~WMMM 7

 

City Siato ZlP Code

 

Emaii or wobsite address

 

 

Person Who Mado lho Paymenl, if Not You

 

Ochiai Form 107 Statement of Financiai Affairs for individuals Filing for Bankruptcy page 7

 

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Debfor 1 Mahmut ' Y"an Case number (//k/mwn> 8"18“76198"35t
Firsl Nlme Middle Name Last Ncme

 

 

 

Descrlption and value of any property transferred Date payment or Amount of
transfer was made payment

 

 

Person th Was Pald

 

Number Streot

 

 

city _ sets zip code

 

l Emall or webeite address

 

Person Who Made the Paymoiit, if NotYou

 

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNO

ill Yes. i==iii in the detaiis.

 

 

 

Descriptiori and value of any property transferred Date payment or Amount of payment
transfer was
‘ ' made
Person Wlio Wes Peld
Numi)er Street “"“"”`”““°M $`“’“’““’“WW“
$,

 

Clty Stato Z|P Code

184 Within 2 years before you filed for bankruptcy, did you seii, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement

ENO

i;J ves. Fiii in the deiaiis.

Description and value of property De`scribe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

Number Siroot

 

 

Clty Slate ZlP Codo

Pereon’s relationship to you _________________

 

Person Who Recolved Transfer

 

Number Slroet

 

 

 

 

 

 

City Siate ZiP Code

Person‘s relationship to you

Ofi“iciai Form 107 Statement of Financiai Affairs for individuals Fiiing for Bankruptcy page 8

 

 

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Debtor 1 Mahmut Y"an Case number (llknown) 8“18"76198"ast

Flrst Namo Mlddlo Name test Name

 

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self~settled trustor similar device of which you
are a beneficiary? (These are often called asset~protection devices.)

MNO

ill Yas. Fin in the details

Descrlptlon and value of the property transferred Date transfer
y was made

Name of trust M

 

 

 

 

 
 

Llst Certaln Financlal Aocounts, lnstruments, Safe Deposlt Boxes, and Storage Unlts

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred? ' '
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions

MNo

l;! Yes. Fm in the details

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
' or transferred
Namo of Financla| lnstltutlon
XXXX- m Checklng w $
Numl)or Stroet m Savmgs

g Money market

 

m Brokerage

 

 

 

Clty State Z|P Codo m ether
XXXX*W mm nw W Q checking MWM $§_
Name of Financlal lnstltutlon
m Savlngs
Numbar Street m Money market

 

m Brokerage
g Other

 

Clty State ZiP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

MNQ

ij Yes. Fm in the details

 

 

Who else had access to lt? Descrlbe the contents Do you still
have it?
[;l No
Nama of Flnanc|al institution Nam° n YGS

 

 

Number Street Number Streot

 

 

Clty Stato ZlP Codo

 

Clty Stato ZlP Codo

 

Ochial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

 

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Debtor 1 Mahmut Yi|an Case number (//known) 8"18"76198"33t

Flrsl Namo Mlddio Nnme Last Name

 

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
54 No
ill ves. Fm m the detaus.

 

 

Who else has or had access to it? Descrll)e the contents Do you still
have lt?
. Cl No
Namo of Storage Fael||ty Namo m yes
Numl)er Street ' Numl)er Street

 

CltyState ZlP Codo

 

_(?¥\y _ o ,_ , §wa Zl.PCOd°,_

Identify Property You Hold or Control for Someone Else

 

 

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.

d No
E.i ves. Fm in the details

 

 

 

 

 

 

 

Where is the property? Descrlbe the property Valuo
Owner’s Name $
‘“ ' Sireet
Numl)or Street
Clty State Zli’ Code
Clty Stato ZlP Code

 

lee Detalls About Environmental information

 

 

For the purpose of Part 10, the following definitions appiy:

a Environmental law means any federa|, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

s Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize lt or used to own, operate, or utilize it, including disposal sites.

1a Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, poliutant, contaminant, or similar term.

 

 

1 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

§ 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

mNo

Cl Yes. Fm in the details

 

 

 

Governmental unit Environmental law, if you know lt Date of notice
Name of site Governmental unit }
Numher Streot 1 Number Street

 

Clty State ZiP Code

 

 

Clty State ZiP Codo

Ofnoial Form 107 Statement of Flnancia| Affairs for individuals Fiiing for Bankruptoy page 10

 

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Debtor 1 Mahmut Y"an Case number (/rknown) 8“18“761 98“ast

Firel Nome Mldrlio Name test Namo

 

25. Have you notified any governmental unit of any release of hazardous material?

mNo

L`.] ves. Fm m the details

Governmental unit Environmental iaw, if you know lt

…MM_
Name of site Governmontai unit l

Date of notice

 

 

Number Streot Number Street

 

……,___W__“
Clty state zip code

 

cny stan ziP code

26.Have you been a party in anyjudicial or administrative proceeding under any environmental law? include settlements and orders.

mNo

E.] ves. Fill in the details

 

 

 

 

court °*‘ agency Nature of the case :;:t;’s of me
Case title § §
… v
Court Namo § g Pending
§ m On appeal
Numbor Stroet m Concluded

 

Case number

 

Clty Stato Zii’ Codo

  

lee Detailo About Your anlness or Connectlons to Any Buolness

27. Wlth n 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
§ A sole proprietor or self~employed in a trade, profession, or other activity, either full-time or part-time
l:i A member of a limited liability company (LLC) or limited liability partnership (LLP)
m A partner in a partnership
m An officer, director, or managing executive of a corporation

g An owner of at least 5% of the voting or equity securities of a corporation
m No. None of the above applies. Go to Part12.
M Yes. Check all that apply above and till in the details below for each business.

Descrlbe the nature of the business Empioyer identification number
Do not include Social Securlty number or lTiN.

Yilan ice Cream

Buslness Namo

 

 

 

 

 

 

 

 

 

. street vendor selling ice cream not a
46 m cr s iv . . . ’ ElN= W……“~…“_….M we am HM_.~
13 P e A 9 b d corporation/ business ‘
Number Street ,. ,, v , `. .
Name of accountant or bookkeeper Dates business existed
Bay Shore NY 11706 ` F"°"‘ W»»- T° …
t .C“y ,, ,» ,S\ii,¢° t Z*P C°d“ ,, ,, ,, _, … ,, t , t
Descrlbe the nature of the business , Employer identification number
~ Do not include Social Securlty number or lTlN.
gusmessNamn … . ., ., t , ,` >. , ,,,
E'lN: W~ _4< ~W md M mw ~M MM_
Number Street ` ` _
Name of accountant or bookkeeper . Dates business existed
From umw To
Clty stale ziP code

 

 

Oinclal Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

 

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Debtor 1 Mahmut 1 Y"an Case number (i/known) 8“18"76198“33t

Flrst Nume Middle blame test Name

 

Empioyer identification number
Do not include Sociai Securlty number or lTiN.

Descrlbe the nature of the business

 

 

Buslness Name

 

 

EINZ w_»___~_,~_~_____..,.__,,__....,a;.._,w»<s
N"'"b°" S"°°‘ Name of accountant or bookkeeper Dates`business existed
From mw TO

 

Clty Sti\to ZlP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include ali financial
institutions, creditors, or other parties.

mNo

iii Yes. Fiii in the details below.

Date issued

 

Na"“’ MM / on / YYYY

 

Number Streat

 

 

Clty State ZiF Code

Slgn Below

 

 

l have read the answers on this Statement of Flnanciai Affalrs and any attachments, and l declare under penalty of perjury that the
answers are true and correct l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

x///,?/é( j s

S\Q;nature of Deb(or 1 t // Signature of Debtor 2

Dae/Q%,Q//V v meade NNNNN

Did you attach additional pages to Your Statement of Financial Affairs for lndividuais Filing for Bankruptcy (Officla| Form 107)?

ig No
l;l Yes

 

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
iii No

l;l Yss. Name of person . Attach the Bankruptcy Petition Preparer's Notice,
Declaralion, and Signature (Official Form 119).

 

 

 

Oflicial Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 12

